           Case 1:11-cv-12131-RWZ Document 364 Filed 01/22/19 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

                                                    )
 THE UNITED STATES OF AMERICA, and                  )
 THE STATE OF CALIFORNIA,                           )
 ex rel. KIMBERLY HERMAN, AMY                       )
 LESTAGE and KEVIN ROSEFF,                          )
                                                    )
          Plaintiffs,                               )          Civil Action No. 11-12131-RWZ
                                                    )
 v.                                                 )
                                                    )
 COLOPLAST CORP., et al.                            )
                                                    )
          Defendants.                               )
                                                    )

                     JOINT PROPOSED FINAL PRETRIAL SCHEDULE
                    PURSUANT TO FED. R. CIV. P. 26(f) AND L.R. 16.1(E)

         NOW COME the parties, Plaintiff Amy Lestage (“Relator” or “Plaintiff”) and Defendant

Coloplast Corp. and submit this Joint Proposed Final Pretrial Schedule.

         This case has been scheduled for Final Pretrial Conference pursuant to Rule 16.5 on

March 26, 2019, with Jury Trial commencing April 8, 2019.

      The parties have conferred and agree to the following deadlines for trial:

                        Event                                                      Deadline

 Motions in limine (if any) due                                     1/22/2019



 Rebuttal expert disclosures due (L.R. 26.4(a) and FRP              1/28/2019
 26(a)(2)).

 Responses to Motions in limine due                                 2/5/2019
        Case 1:11-cv-12131-RWZ Document 364 Filed 01/22/19 Page 2 of 3



 Pretrial disclosures (FRCP 26(a)(3) and L.R. 16.5(c))           2/26/2019


 Objections to evidence identified in disclosures shall be       Before counsel confer regarding
 made before counsel confer regarding the pretrial memo (LR      pretrial memorandum
 16.5(c))

 Counsel to confer to prepare joint pretrial disclosure (LR      3/12/2019
 16.5(d))


 File joint pretrial memorandum (LR 16.5(d))                     3/19/2019


 Trial briefs due (LR 16.5(f))                                   4/1/2019


 Advise judicial officer and other parties of identify of all    4/1/2019
 witnesses whose testimony it may offer during trial, whether
 by affidavit, deposition or oral testimony (L.R. 43.1)



       The Parties respectfully request that the Court enter a scheduling order adopting the

above pre-trial schedule.

January 22, 2019                                     Respectfully submitted,

 Counsel for Coloplast Corp.                        Counsel for Plaintiffs/Relators
                                                    Kimberly Herman, Amy
 /s/ Jacqueline A. Mrachek                          Lestage and Kevin Roseff
 Jacqueline A. Mrachek (pro hac vice)
 Nichole A. Truso (pro hac vice)                    /s/ Tawny L. Alvarez
 Faegre Baker Daniels LLP                           Tawny L. Alvarez (BBO 672255)
 2200 Wells Fargo Center                            Paul W. Shaw (BBO No. 455500)
 Minneapolis, MN 55402-3901                         VERRILL DANA LLP
 (612)766-8619                                      One Boston Place, Suite 1600
 Jacqueline.Mrachek@FaegreBD.com                    Boston, MA 02108
 Nicole.Truso@FaegreBD.com                          (617) 309-2600
                                                    PShaw@VerrillDana.com
 Brian P. Dunphy (BBO No. 670902)                   TAlvarez@VerrillDana.com
 Mintz, Levin, Cohn, Ferris,
 Glovsky and Popeo, PC
 One Financial Center
 Boston, MA 02111
 (617)348-1810
 BDunphy@Mintz.com
                                                2
         Case 1:11-cv-12131-RWZ Document 364 Filed 01/22/19 Page 3 of 3



                               CERTIFICATE OF SERVICE
       I hereby certify that on January 22, 2019, I caused a true and accurate copy of the
foregoing document to be filed with the Clerk of Court using the CM/ECF system which will
send notification of such filing to all counsel of record.


                                           /s/ Tawny L. Alvarez
                                           Tawny L. Alvarez




                                              3
12422900_1
